    Case 2:19-mj-04758-DUTY Document 3 Filed 05/05/20 Page 1 of 1 Page ID #:83

 Case 2:19-mj-04758-DUTY           *SEALED*        Document 1-1 *SEALED*            Filed 11/08/19   Page 2 of 11
                                                     Page ID #:32



                                                          Return
Case No:                                                      Date and time warrant served on provider:




InventOlY made in the presence of J      J

                                      lI"drev    !1lctr «M ffl
                                                      u
Inventory of data seized:
[Please provide a description of the information produced.]



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                                                     Certification
I declare under penalty of perjury that I am an officer involved in the execution of this warrant, and that this
inventory is correct and was returned along with the original warrant to the designated judge through afiling
with the Clerk's Office.


Date:    5/ r /      ;, dt 0
                        0
